            Case 1:17-bk-11706                    Doc 53      Filed 09/10/18 Entered 09/10/18 20:37:51                               Desc Main
                                                              Document     Page 1 of 5
 Fill in this information to identify the case:
 Debtor 1    Milton R Carpenter


 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of OHIO

 Case number 17-11706

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: MTGLQ INVESTORS, L.P.                                           Court claim no. (if known): 13

Last 4 digits of any number you use to                                            Date of payment change: 10/01/2018
identify the debtor’s account: 0314                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,002.26
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $330.52                             New escrow payment: $364.50
 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                     New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Milton R Carpenter                                         Case number (if known) 1:17-bk-11706

           Print Name        Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

           Ashlee Fogle
     /s/ ______________________                   Date ________________________
                                                         09/10/2018
     Signature



  Print                 Ashlee Fogle
                    _____________________________________________                                     Title   Authorized Agent for Creditor
                    First Name                    Middle Name      Last Name


  Company           RAS Crane, LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth, GA 30097
                    City                                                State        ZIP Code

  Contact Phone     470-321-7112                                                                               afogle@rascrane.com
                                                                                                      Email _____________________________




Official Form 410S1                                    Notice of Mortgage Payment Change                                                      page 2
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                                           CERTIFICATE OF SERVICE
                                                September 10, 2018
               I HEREBY CERTIFY that on ____________________________________________________________,
I electronically filed the foregoing with the Clerk of Court by using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
Dean Snyder
5127 Pleasant
Fairfield, Oh 45014

Milton R. Carpenter
5762 Mill Crest Ct
Hamilton, OH 45011

Margaret A. Burks
600 Vine Street
Suite 2200
Cincinnati, OH 45202

Asst US Trustee (Cin)
Office of the US Trustee
36 East Seventh Street
Suite 2030
Cincinnati, OH 45202

                                                                          RAS Crane, LLC
                                                                          Authorized Agent for Secured Creditor
                                                                          10700 Abbott's Bridge Road, Suite 170
                                                                          Duluth, GA 30097
                                                                          Telephone: 470-321-7112
                                                                          Facsimile: 404-393-1425

                                                                                /s/Amanda Wood
                                                                          By: _________________________
                                                                               Amanda Wood
                                                                               Email: awood@rascrane.com




Official Form 410S1                   Notice of Mortgage Payment Change                               page 3
                                                                REPRESENTATION OF PRINTED DOCUMENT
              Case 1:17-bk-11706                             Doc 53                                    ANNUAL ESCROW
                                                                               Filed 09/10/18 Entered 09/10/18 20:37:51 ACCOUNT
                                                                                                                         Desc Main
                                   9990 Richmond, Suite 400 South
                                   Houston, TX 77042-4546
                                                                               Document     Page 4 of 5 DISCLOSURE STATEMENT
                                                                                                                                            LOAN NUMBER:
                                                                                                                                                   DATE: September 1, 2018

                                                                                                                                                                                               New Payment
                                                                                                                                                                             Previous          Effective
                                                                                                                                                                             Payment           10/01/18


             MILTON R CARPENTER                                                                                                PRINCIPAL AND INTEREST                          $637.76          $637.76
             DEAN SNYDER                                                                                                       ESCROW                                          $330.52          $331.03
             5127 PLEASANT AVE                                                                                                 SHORTAGE SPREAD                                    $.00           $33.47
             FAIRFIELD OH 45014-2622
                                                                                                                               TOTAL PAYMENT                                   $968.28       $1,002.26


                                                                                                                               CUSTOMER SERVICE 877-735-3637



                                                                        COMING YEAR ESCROW PROJECTION
The purpose of the Coming Year Escrow Projection is to determine the lowest balance “Low Point” to which your escrow account will decline over the upcoming year. The purpose of the Low Balance
Summary is to compare the projected and allowable low point amounts. If the projected low point is greater than the allowable low point (*), there is a surplus. If the surplus is $50.00 or greater, it will be
automatically refunded to you. If the surplus is less than $50.00, we have lowered your payment accordingly. If the projected low point is less than the allowable low point(*), there is a shortage and/or
deficiency which will be recovered by an adjustment to your monthly payment over a specified number of months. The adjustment amount(s) appears in the Low Balance Summary and New Payment
Information.


   ANTICIPATED ESCROW DISBURSEMENT                                           PAYMENTS                                                                PAYMENTS    CUR BAL    REQ BAL
                                                              MONTH         TO ESCROW               DESCRIPTION                                    FROM ESCROW PROJECTION PROJECTION
HOMEOWNERS INS                                 1,028.00
                                                                                                    BEGINNING BALANCE                                                            591.39              993.09
COUNTY TAXES                                   1,472.18
                                                               10/18                331.03                                                                       .00             922.42            1,324.12
COUNTY TAXES                                   1,472.18
                                                               11/18                331.03                                                                       .00           1,253.45            1,655.15
                                                               12/18                331.03                                                                       .00           1,584.48            1,986.18
                                                               01/19                331.03                                                                       .00           1,915.51            2,317.21
                                                               02/19                331.03                                                                       .00           2,246.54            2,648.24
TOTAL DISBURSEMENTS                            3,972.36        03/19                331.03          COUNTY TAXES                                           -1,472.18           1,105.39            1,507.09
DIVIDED BY 12 MONTHS
                                                               04/19                331.03          HOMEOWNERS INS                                         -1,028.00             408.42              810.12
                                                               05/19                331.03                                                                       .00             739.45            1,141.15
MONTHLY ESCROW DEPOSIT                           331.03        06/19                331.03                                                                       .00           1,070.48            1,472.18
                                                               07/19                331.03                                                                       .00           1,401.51            1,803.21
                                                               08/19                331.03          COUNTY TAXES                                           -1,472.18             260.36              662.06 *
          LOW BALANCE SUMMARY                                  09/19                331.03                                                                       .00             591.39              993.09

PROJECTED LOW POINT                              260.36        TOTAL             3,972.36                                                                  -3,972.36
ALLOWABLE LOW POINT                              662.06




SHORTAGE                               401.70
   ESCROW ADJUSTMENT
                                        33.47
   FOR 12 MONTHS
The cushion allowed by federal law (RESPA) is
two times your monthly escrow payment
(excluding MIP/PMI), unless state law specifies
a lower amount.

                                                                              IMPORTANT MESSAGES
                    PLEASE DO NOT SEND CORRESPONDENCE WITH YOUR PAYMENT - ALWAYS WRITE YOUR ACCOUNT NUMBER ON YOUR CHECK




NMLS                                       PLEASE RETURN LOWER PORTION WITH YOUR PAYMENT AND KEEP THE TOP PORTION FOR YOUR RECORDS
                                                                                       INTERNET REPRINT
                                                         ESCROW SHORTAGE REPLY
                                                         This is not a bill for the shortage amount. You are not required to pay this shortage in one
                                                         payment. The total shortage amount is automatically divided by 12 and included in your monthly
                                                         payment.
     MILTON R CARPENTER
                                                         You can reduce your monthly payment by $33.47 per payment if you pay the total shortage in full
                                                         immediately. Simply send your check for $401.70 along with this coupon.
     SELENE FINANCE
     PO BOX 421639                                                                                                                                                           LOAN NUMBER
     HOUSTON TX 77242-1639

                                                                                                                                                                          SHORTAGE AMOUNT

                                                                                                                                                                                 $401.70
                                                               ESCROW ACCOUNT HISTORY
Loan Numbe
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                                                                                                                                        Date: October 1, 2018
                                                                  Document     Page 5 of 5
♦   This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. The projections from your previous
    escrow analysis are to the left of the actual payments, disbursements and escrow balance. By comparing the actual escrow payments to the previous projections
    listed, you can determine where a difference may have occurred.
♦   An asterisk (*) indicates a difference from the projected activity in either the amount or date.
♦   When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.
♦   Your projected low point may or may not have been reached based on one or more of the following factors:
PAYMENT(S)                                                  TAXES                                                INSURANCE
• Monthly payment(s) received earlier OR later              • Tax rate and/or assessed value changed             • Premium changed
  than expected                                             • Exemption status lost or changed                   • Coverage changed
• Monthly payment(s) received were less than OR             • Supplemental/Delinquent tax paid                   • Additional premium paid
  greater than expected                                     • Tax bill paid earlier OR later than expected       • Insurance bill paid earlier OR later than expected
• Previous overage was returned to escrow                   • Tax installment not paid                           • Premium was not paid
• Previous shortage not paid entirely                       • Tax refund received                                • Premium refund received
                                                            • New tax escrow requirement paid                    • New insurance escrow requirement paid
                                                                                                                 • Lender placed insurance premium paid
               PAYMENTS TO ESCROW                 DISBURSEMENTS FROM ESCROW                                                              ESCROW BALANCE
MONTH         PROJECTED     ACTUAL                   PROJECTED      ACTUAL              DESCRIPTION                                 PROJECTED        ACTUAL
                                                                                        BEGINNING BALANCE                                      .00           -4,667.90
    10/17                                                                                                                                      .00<          -4,667.90
    11/17                                                                                                                                      .00           -4,667.90
    12/17                                                                                                                                      .00           -4,667.90
    01/18                                                                                                                                      .00           -4,667.90
    02/18                       1,266.66                                1,472.18 *      COUNTY TAXES                                           .00           -4,873.42
    03/18                                                                                                                                      .00           -4,873.42
    04/18                         844.44                                1,028.00 *      HOMEOWNERS INS                                         .00           -5,056.98
    05/18                         752.74                                                                                                       .00           -4,304.24
    06/18                         330.52                                                                                                       .00           -3,973.72
    07/18                                                               1,472.18 *      COUNTY TAXES                                           .00           -5,445.90<
    08/18                       1,083.26                                                                                                       .00           -4,362.64
    09/18                                                                                                                                      .00           -4,362.64
TOTALS                 0.00     4,277.62                   0.00         3,972.36

Under Federal Law (RESPA) the lowest monthly balance in your escrow account should not exceed $0.00 or 1/6th of the total anticipated
annual disbursement from your escrow account, unless your mortgage documents or state law specifies a lower amount. When your
escrow balance reaches its lowest point during the account cycle, that balance is targeted to be your cushion amount. Under the Mortgage
Contract or State or Federal Law, the targeted low point in your escrow account is $0.00 and the actual low point balance was -$5,445.90;
the amount is indicated with an arrow (<).




Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for that purpose.

Please note that if you are in bankruptcy or received a bankruptcy discharge of this debt, this communication is not an attempt to collect
the debt against you personally.
For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including, under most circumstances, a prohibition on foreclosure during and twelve months after the servicemember’s
active duty service. Selene will not foreclose on the property of a servicemember or his or her dependent during that time, except pursuant
to a court order. You also may be entitled to other protections under these laws, including interest rate and fee relief. Please contact us to
learn more about your rights.
